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       APPENDIX A
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                   Deposition Transcripts Cited in Motions for Summary Judgment and Daubert Motions


            Deposition                  Date           Pltf/Def        Sealed Dkt No.      Public Dkt No.
Abernathy, Jeff                       11/15/18        Defendant             1956-1             1974-1
Abreu, Shaun                          12/13/18        Defendant            1956-2             1974-2
Adams, John                           01/30/19        Defendant            1956-3             1974-3
Alexander, G. Caleb, M.D.             04/26/19         Plaintiff            1956-4             1974-4
Allan, Terrence                       12/17/18         Plaintiff            1956-5             1974-5
Altier, Jennifer                      08/02/18        Defendant             1956-6             1974-6
Ashley, Demetra                       03/15/19        Third Party           1956-7             1974-7
Baeder, Christine                     01/24/19        Defendant             1956-8             1974-8
Baeppler, Matthew                     01/17/19         Plaintiff            1956-9             1974-9
Baker, Hylton                         12/19/18         Plaintiff           1956-10            1974-10
Baker-Stella, Lori                    05/23/19         Plaintiff           1956-11            1974-11
Ball, Kenneth                         11/07/18         Plaintiff           1956-12            1974-12
Baran, Nancy                          12/11/18        Defendant            1956-13            1974-13
Barker, Shane                         11/28/18         Plaintiff           1956-14            1974-14
Barnes, Julie                         12/03/18         Plaintiff           1956-15            1974-15
Beam, Gregory                         01/15/19        Defendant            1956-16            1974-16
Bearer, Deborah                       01/08/19        Defendant            1956-17            1974-17
Becker, Stephen                       12/19/18        Defendant            1956-18            1974-18
Beckhardt, Stacey                     02/01/19        Defendant            1956-19            1974-19
Belli, Christopher                    12/20/18        Defendant            1956-20            1974-20
Bencivengo, Fred                      01/22/19        Defendant             1959-1             1975-1
Bish, Deborah                         02/01/19        Defendant             1959-2             1975-2
Block, Tonya                          11/14/18         Plaintiff            1959-3             1975-3
Boggs, Gary                           01/17/19        Defendant            1959-4             1975-5
Boggs, Gary 30(b)(6)                  07/19/18        Defendant            1959-5             1975-4
Boothe, Douglas                       01/17/19        Defendant             1959-6             1975-6
Borelli, Victor                       11/29/18        Defendant             1959-7             1975-7
Boyer, Andrew                         01/15/19        Defendant            1959-8             1975-8
Bratton, Edward                       11/30/18        Defendant             1959-9            1975-10
Bratton, Edward 30(b)(6)              12/16/18        Defendant            1959-10             1975-9
Briscoe, Jason                        12/06/18        Defendant            1959-11            1975-11
Brown, Robert                         12/03/18        Defendant            1959-12            1975-12
Burtner, Aaron                        01/17/19        Defendant            1959-13            1975-13
Cameron, Todd                         09/26/18        Defendant            1959-14            1975-14
Campanelli, Paul                      03/21/19        Defendant            1959-15            1975-15
Caraffi, Vincent                      01/23/19         Plaintiff           1959-16            1975-16
Cardetti, Lisa                        01/10/19        Defendant            1959-17            1975-17
Carlson, Gregory                      01/08/19        Defendant            1959-18            1975-18
Cavacini, Eugene                      01/25/19        Defendant            1959-19            1975-19
Chapman, George                       01/09/19        Defendant            1959-20            1975-20
Chase, Debra                          01/04/19        Defendant            1959-21            1975-21
Cherveny, Eric                        11/09/18        Defendant            1959-22            1975-22
Chick, Deanna Stacy                   12/13/18        Defendant            1959-23            1975-23
Chunderlik, George                    01/16/19        Defendant            1959-24            1975-24
Clarke, Michael                       12/07/18        Defendant            1959-25            1975-25
Cochrane, Michael                     01/15/19        Defendant             1961-1             1976-1

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            Deposition                   Date           Pltf/Def        Sealed Dkt No.      Public Dkt No.
Cochrane, Patrick 30(b)(6)             01/24/19        Defendant             1961-2             1976-2
Coleman, JoLynn                        12/13/18        Defendant             1961-3             1976-3
Collier, Ginger                        01/08/19        Defendant             1961-4             1976-4
Connelly, Michael                      11/07/18        Defendant             1961-5             1976-5
Cox, Erin                              01/17/19        Defendant             1961-6             1976-6
Craig, Gerald                          01/11/18         Plaintiff            1961-7             1976-7
Crowley, Jack                          01/10/19        Defendant             1961-8             1976-8
Cutler, David Ph.D.                    04/26/19         Plaintiff            1961-9             1976-9
Cutler, David Ph.D.                    04/27/19         Plaintiff           1961-10            1976-10
Day, Matthew                           01/04/19        Defendant            1961-11            1976-11
Dempsey, Michele                       01/22/19        Defendant            1961-12            1976-12
Dempsey, Michele                       03/08/19        Defendant            1961-13            1976-13
Denihan, William                       01/30/19         Plaintiff           1961-14            1976-14
Diebert, Jennifer                      01/24/19        Defendant            1961-15            1976-15
Domzalski, Christopher                 01/17/19        Defendant            1961-16            1976-16
Dorsey, Michael                        01/08/19        Defendant            1961-17            1976-17
Ducote, Chad                           11/16/18        Defendant            1961-18            1976-18
Dugger, Terrence                       01/23/19        Defendant            1961-19            1976-19
Durr, Walter Wayne                     01/22/19        Defendant            1961-20            1976-20
Dymon, Chris                           01/25/19        Defendant            1961-21            1976-21
Egilman, David                         04/25/19         Plaintiff           1961-22             1977-1
Egilman, David                         04/26/19         Plaintiff           1961-23             1977-2
Euson, George 30(b)(6)                 11/27/18        Defendant            1961-24             1977-3
Fanelli, Richard                       12/06/18        Defendant            1961-25             1977-4
Fanelli, Richard                       12/07/18        Defendant            1961-26             1977-5
Fishman, Scott                         02/26/19        Third Party           1962-1             1977-6
Fishman, Scott                         02/27/19        Third Party           1962-2             1977-7
Forkas, Deborah                        01/23/19         Plaintiff           1962-3             1977-8
Forst, Christopher                     01/22/19        Defendant             1962-4             1977-9
Fri, Perry                             05/07/19        Third Party           1962-5            1977-10
Ganley, Joseph                         07/27/18        Defendant             1962-6            1977-11
Garner, Chad                           11/14/18        Third Party           1962-7            1977-12
Geraci, Mark                           04/04/19        Defendant             1962-8            1977-13
Gessner, Brad                          12/03/18         Plaintiff            1962-9            1977-14
Gillies, John                          02/07/19        Defendant            1962-10            1977-15
Gilson, Thomas 30(b)(6)                01/14/19         Plaintiff           1962-11            1977-16
Gordon, Merle                          07/19/18         Plaintiff           1962-12            1977-17
Grabowski, Henry                       06/06/19        Defendant            1962-13            1977-18
Griffin, Eric                          01/23/19        Third Party          1962-14            1977-19
Gruber, Jonathan                       04/25/19         Plaintiff           1962-15            1977-20
Gutierrez, James 30(b)(6)              01/31/19         Plaintiff           1962-16            1977-21
Harbauer, Candace                      02/19/19        Defendant            1962-17            1977-22
Harbauer, Kirk                         02/27/19        Defendant            1962-18            1977-23
Harper, Karen                          01/15/19        Defendant            1962-19            1977-24
Harper-Avilla, Stacy                   04/11/19        Third Party          1962-20            1977-25
Hart, Janet Getzey                     01/30/19        Defendant            1962-21             1978-1

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           Deposition                  Date           Pltf/Def        Sealed Dkt No.      Public Dkt No.
Hart, Janet Getzey 30(b)(6)          01/31/19        Defendant            1962-22             1978-2
Hartle, Nate                         08/01/18        Defendant            1962-24             1978-4
Hartle, Nate 30(b)(6)                07/31/18        Defendant            1962-23             1978-3
Hartman, Mark                        11/15/18        Defendant            1962-25             1978-5
Hassler, John                        11/16/18        Defendant            1962-26            1978-6
Heiser, Randy                        02/19/19        Defendant            1962-27             1978-7
Helfrich, Shauna                     01/10/19        Defendant            1962-28             1978-8
Herman, Doron                        06/20/19        Defendant            1962-29             1978-9
Hiland, Susanne                      01/23/19        Defendant            1962-31            1978-11
Hiland, Susanne 30(b)(6)             01/22/19        Defendant            1962-30            1978-10
Hilliard, Gary                       01/10/19        Defendant             1963-1            1978-12
Hinkle, Sherri                       01/25/19        Defendant             1963-2            1978-13
Hodges, Debbie                       01/11/19        Defendant             1963-3            1978-14
Hutzell, Eric                        01/08/19         Plaintiff            1963-4            1978-15
Jackson, Cathy                       01/07/19        Defendant             1963-5            1978-16
Jena, Anupum                         06/06/19        Defendant             1963-6            1978-17
Johnson, Greta 30(b)(6)              01/15/19         Plaintiff            1963-7            1978-18
Johnson, Miranda                     12/12/18        Defendant             1963-8            1978-19
Kaleta, Edward                       12/18/18        Defendant             1963-9             1979-1
Kaspar, Claire                       01/15/19         Plaintiff           1963-10             1979-2
Kaufhold, Stephan                    10/26/18        Defendant             1986-1             1979-3
Keenan, Maggie                       12/12/18         Plaintiff           1963-12             1979-5
Keenan, Maggie 30(b)(6)              01/18/18         Plaintiff           1963-11             1979-4
Keller, Lacey                        06/13/19         Plaintiff           1963-13             1979-6
Kelly, Patrick                       05/10/19        Third Party          1963-14             1979-7
Kessler, David                       04/25/19         Plaintiff           1963-15             1979-8
Kessler, David                       04/26/19         Plaintiff           1963-16             1979-9
Keyes, Katherine                     04/29/19         Plaintiff           1963-17            1979-10
Kinsey, Sandra                       06/07/19        Defendant            1963-18            1979-11
Kippes, Christopher                  01/18/19         Plaintiff           1963-19            1979-12
Kitlinski, Linda                     01/15/19        Defendant            1963-20            1979-13
Kreutzer, Kevin                      11/27/18        Defendant            1963-21            1979-14
Kyle, Margaret                       06/05/19        Defendant            1963-22            1979-15
Leckler, Molly                       11/19/18         Plaintiff            1966-1            1979-16
Lembke, Anna                         04/24/19         Plaintiff            1966-2            1979-17
Leonard, Patrick                     05/23/19         Plaintiff            1966-3            1979-18
Leppla, Allisyn                      01/15/19         Plaintiff            1966-4            1979-19
Liebman, Jeffrey Ph.D.               05/03/19         Plaintiff            1966-5            1979-20
Little, Patsy                        12/14/18        Defendant             1966-6            1979-21
Lortie, Brian                        01/22/19        Defendant             1966-7             1981-1
Lortie, Brian                        01/23/19        Defendant             1966-8             1981-2
Lortie, Brian                        03/27/19        Defendant             1966-9             1981-3
Macey, Jonathan                      05/29/19        Defendant            1966-10             1981-4
Macrides, Stephen                    03/15/19        Defendant            1966-11             1981-5
Mahoney, William de Gutierrez        11/28/18        Defendant            1966-12             1981-6
Martin, Barbara                      01/25/19        Defendant            1966-13             1981-7

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             Deposition                   Date           Pltf/Def        Sealed Dkt No.      Public Dkt No.
May, David                              08/04/18        Defendant            1966-14             1981-8
Mays, Stephen                           10/24/18        Defendant            1966-15            1981-10
Mays, Stephen                           02/08/19        Defendant             1986-2             1981-9
McAleer, Trevor                         01/10/19         Plaintiff           1966-16            1981-11
McCann, Craig                           05/09/19         Plaintiff           1966-17            1981-12
McClune, Robert                         01/25/19        Defendant            1966-18            1981-13
McCormick, Jinping                      01/09/19        Defendant            1966-19            1981-14
McGinn, Colleen                         12/14/18        Defendant            1966-20            1981-15
McGuire, Thomas                         04/23/19            Pltf             1966-21            1981-16
McGuire, Thomas                         04/30/19         Plaintiff           1966-22            1981-17
Millikan, Gary                          01/11/19        Defendant             1968-1            1981-18
Mills, Steven                           11/08/18        Defendant             1968-2            1981-19
Millward, Joseph                        12/20/18        Defendant             1968-3            1981-20
Mitchell, Kevin                         01/16/19        Defendant             1968-4            1981-21
Mollica, Anthony                        01/04/19        Defendant             1968-5             1982-1
Moran, Scott                            12/20/18         Plaintiff            1968-7             1982-3
Moran, Scott                            03/27/19         Plaintiff            1968-6             1982-2
Morelli, Art                            01/17/19        Defendant             1968-8             1982-4
Morse, Donald Steven                    12/13/18        Defendant             1968-9             1982-5
Moskovitz, Bruce                        11/14/18        Defendant            1968-11             1982-7
Moskovitz, Bruce                        01/09/19        Defendant            1968-10             1982-6
Munroe, Brian                           03/19/19        Defendant            1968-12             1982-8
Must, Alan                              03/14/19        Defendant            1968-13             1982-9
Myers, David                            12/13/18        Defendant            1968-14            1982-10
Nameth, Tom                             01/07/19        Defendant            1968-15            1982-11
Napoli, Thomas                          01/17/19        Defendant            1968-16            1982-12
Neely, Kate                             01/08/19        Defendant            1968-17            1982-13
Nelsen, Brian                           01/24/19         Plaintiff           1968-18            1982-14
New, Bonnie                             02/12/19        Defendant            1968-19            1982-15
Norris, Jennifer 30(b)(6)               08/07/18        Defendant            1968-20            1982-16
Norton, Tracey                          01/16/19        Defendant            1968-21            1982-17
Norton, Tracey                          01/17/19        Defendant            1968-22            1982-18
Paolino, Matthew                        12/05/18         Plaintiff            1969-1            1982-19
Papp, Joan                              02/05/19        Third Party           1969-2            1982-20
Patton, Kimberly                        01/22/19         Plaintiff            1969-3            1982-21
Peacock, Jeff                           01/30/19        Defendant             1969-4             1983-1
Perch, Stephen                          10/18/18         Plaintiff            1969-5             1983-2
Perfetto, Michael                       12/18/18        Defendant             1969-6             1983-3
Perri, Matthew                          04/23/19         Plaintiff            1969-7             1983-4
Perri, Matthew                          04/24/19         Plaintiff            1969-8             1983-5
Peterson, Douglas                       12/20/18        Defendant             1969-9             1983-6
Polster, Natasha                        01/23/19        Defendant            1969-10             1983-7
Portenoy, Russell                       01/24/19        Third Party          1969-11             1983-8
Prevoznik, Thomas                       04/17/19        Third Party          1969-12             1983-9
Prevoznik, Thomas                       04/18/19        Third Party          1969-13            1983-10
Prevoznik, Thomas                       05/17/19        Third Party          1969-14            1983-11

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            Deposition                   Date           Pltf/Def        Sealed Dkt No.      Public Dkt No.
Prince, John                           05/23/19         Plaintiff           1969-15            1983-12
Propatier, Amy                         11/29/18        Defendant            1969-16            1983-13
Quintero, Gilberto                     12/06/18        Defendant            1969-17            1983-14
Rafalski, James                        05/13/19         Plaintiff           1969-18            1983-15
Rafalski, James                        05/14/19         Plaintiff           1969-19            1983-16
Ranazzisi, Joseph                      04/26/19        Third Party          1969-20            1983-17
Ranazzisi, Joseph                      05/15/19        Third Party          1969-21            1983-18
Ratliff, William                       12/19/18        Defendant             1970-1            1983-19
Ratycz, Peter                          12/21/18        Defendant             1970-2            1983-20
Rausch, James                          11/16/18        Defendant             1970-3            1983-21
Reardon, Steve                         11/30/18        Defendant             1970-4            1983-22
Reed, Roxanne                          01/10/19        Defendant             1970-5            1983-23
Ringgold, Larry                        01/24/19        Defendant             1970-6            1983-24
Ritchie, Bruce                         01/25/19        Defendant             1970-7            1983-25
Rogos, Matthew                         02/22/19        Defendant             1970-8             1984-1
Romaine, Larry                         01/10/19        Defendant             1970-9             1984-2
Rosen, Burt                            01/16/19        Defendant            1970-10             1984-3
Rosenthal, Meredith                    05/04/19         Plaintiff           1970-11             1984-4
Rosenthal, Meredith                    05/05/19         Plaintiff           1970-12             1984-5
Rowley-Kilper, Tiffany                 02/09/19        Defendant             1996-1             1997-1
Sackler, Kathe                         04/01/19        Third Party          1970-13             1984-6
Saffold, George                        02/08/19        Defendant            1970-14             1984-7
Saper, Joel                            01/11/19        Third Party          1970-15             1984-8
Schoen, James                          02/27/19        Defendant            1970-16             1984-9
Schoen, Thomas                         09/05/18        Defendant            1970-17            1984-10
Schumacher, Mark                       04/23/19         Plaintiff           1970-18            1984-11
Seid, Stephen                          12/12/18        Defendant            1970-19            1984-12
Seid, Stephen                          12/13/18        Defendant            1970-20            1984-13
Shannon, Hugh 30(b)(6)                 01/15/19         Plaintiff           1970-21            1984-14
Siegle, Derek                          01/23/19        Third Party          1970-22            1984-15
Skoda, Donna                           08/14/18         Plaintiff           1970-23            1984-16
Smith, Douglas                         11/16/18         Plaintiff           1970-24            1984-17
Snider, Blaine                         11/08/18        Defendant            1970-25            1984-18
Spaulding, Eileen                      02/05/19        Defendant             1971-1            1984-19
Stahmann, Eric                         10/16/18        Defendant             1971-2            1984-20
Stevenson, George                      02/15/19        Defendant             1971-3            1984-21
Strait, Matthew 30(b)(6)               05/31/19        Third Party           1971-4            1984-22
Strang, Jill                           01/03/19        Defendant             1971-5            1984-23
Sturmi, Jeffrey                        11/15/18         Plaintiff            1971-6            1984-24
Sullins, Ramona                        01/04/19        Defendant             1971-7            1984-25
Swords, Rex                            12/21/18        Defendant             1971-8            1984-26
Tomkiewicz, Joseph                     11/28/18        Defendant             1971-9             1985-1
Tommasi, Eugene                        12/18/18        Defendant            1971-10             1985-2
Tomsky, Scott                          03/15/19        Defendant            1971-11             1985-3
Tsipakis, James 30(b)(6)               12/13/18        Defendant            1971-12             1985-4
Tucker, Clarence                       01/10/19         Plaintiff           1971-13             1985-5

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           Deposition                  Date           Pltf/Def        Sealed Dkt No.      Public Dkt No.
Twigg, Charles                       01/08/19         Plaintiff           1971-14             1985-6
Vernazza, Mark                       11/20/18        Defendant            1971-15             1985-7
Vorderstrasse, Kevin                 12/05/18        Defendant            1971-16             1985-8
Vorsanger, Gary                      01/17/19        Defendant            1971-17             1985-9
Vorsanger, Gary                      12/05/18        Defendant            1971-18            1985-10
Walker, Donald                       01/10/19        Defendant            1971-19            1985-11
Walker, Lisa                         12/04/18        Defendant            1971-20            1985-12
Walter, Cheri                        02/19/19        Third Party           1972-1            1985-13
Weber, Celia                         01/25/19        Defendant             1972-2            1985-14
Webster, Lynn                        02/18/19        Third Party           1972-3            1985-15
Wessler, Michael                     01/09/19        Defendant             1972-4            1985-16
Wexelblatt, Scott M.D.               04/24/19         Plaintiff            1972-5            1985-17
Whitelaw, Seth                       05/16/19         Plaintiff            1972-6            1985-18
Whitelaw, Seth                       05/17/19         Plaintiff            1972-7            1985-19
Williams, Calvin                     03/29/19         Plaintiff            1972-8            1985-20
Wilson, Ellen                        01/24/19        Defendant             1972-9            1985-21
Wood, Marian                         01/24/19        Defendant            1972-10            1985-22
Woods, Mary                          01/10/19        Defendant            1972-11            1985-23
Wright, Kyle                         02/28/19        Third Party          1972-12            1985-24
Wright, Kyle                         03/04/19        Third Party          1972-13            1985-25
Young, Nancy K. Ph.D.                05/14/19         Plaintiff           1972-14            1985-26
Zimmerman, Christopher               02/08/19        Defendant            1972-15            1985-27
Zimmerman, Christopher 30(b)(6)      08/03/18        Defendant            1972-16            1985-28




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                Expert                  Date           Pltf/Def       Sealed Dkt No.      Public Dkt No.
Alexander, G. Caleb                   03/24/19         Plaintiff          2000-1             1999-1
Alexander, G. Caleb (Supplemental)    04/03/19         Plaintiff          2000-2             1999-2
Aquino, Carlos                        06/06/19        Defendant           1939-1             1936-1
Bialecki, Matthew G.                  05/10/19        Defendant           1939-2             1936-2
Brunner, Robert                       05/10/19        Defendant           1939-3             1936-3
Buskey, Robert                        05/31/19        Defendant           1939-4             1936-4
Buthusiem, Edward                     05/10/19        Defendant           1939-5             1936-5
Buzzeo, Ronald                        05/31/19        Defendant           1939-6             1936-6
Chintagunta, Pradeep                  05/10/19        Defendant           1939-7             1936-7
Cockburn, Iain                        05/10/19        Defendant           1939-8             1936-8
Cohen, Stephen                        05/10/19        Defendant           1939-9             1936-9
Colder, Karl                          05/31/19        Defendant          1939-10            1936-10
Courtwright, David T.                 03/21/19         Plaintiff          2000-3             1999-3
Cutler, David                         03/25/19         Plaintiff          2000-4             1999-4
Dorfman, Howard                       05/10/19        Defendant          1939-11            1936-11
Egilman, David                        03/25/19         Plaintiff          2000-5             1999-5
Greimel, Matthew                      05/10/19        Defendant          1939-12            1936-12
Gruber, Jonathan                      03/25/19         Plaintiff          2000-6             1999-6
Hill, Robert                          05/31/19        Defendant          1939-13            1936-13
Holifield, Larry                      05/31/19        Defendant          1939-14            1936-14
Jena, Anupam B.                       05/10/19        Defendant          1939-15            1936-15
Keller, Lacey                         04/15/19         Plaintiff          2000-7             1999-7
Kessler, David                        03/26/19         Plaintiff          2000-8             1999-8
Ketcham, Jonathan                     05/10/19        Defendant          1939-16            1936-16
Keyes, Katherine                      03/24/19         Plaintiff          2000-9             1999-9
Kinsey, Sandra (Amended)              06/03/19        Defendant          1939-17            1936-17
Kwon, Sonya                           05/10/19        Defendant          1939-18            1936-18
Kyle, Margaret                        05/10/19        Defendant          1939-19            1936-19
Kyle, Margaret (Supplemental)         06/27/19        Defendant          1939-20            1936-20
Lembke, Anna                          03/25/19         Plaintiff         2000-10            1999-10
Liebman, Jeffrey B.                   03/25/19         Plaintiff         2000-11            1999-11
Liebman, Jeffrey B. (Supplemental)    04/03/19         Plaintiff         2000-12            1999-12
Liebman, Jeffrey B. (Appendix B)      04/03/19         Plaintiff         2000-13            1999-12
Lyerla, Rob                           05/10/19        Defendant          1939-21            1936-21
MacDonald, John                       05/10/19        Defendant          1939-22            1936-22
Macey, Jonathan R.                    05/10/19        Defendant          1939-23            1936-23
Marais, Laurentius                    05/10/19        Defendant          1939-24            1936-24
McCann, Craig J.                      03/25/19         Plaintiff         2000-14            1999-13
McCann, Craig J. (Supplemental)       04/03/19         Plaintiff         2000-15            1999-14
McCann, Craig J. (2d Supplemental)    04/15/19         Plaintiff         2000-16            1999-15
McGuire, Thomas                       03/25/19         Plaintiff         2000-17            1999-16
McGuire, Thomas (Public Nuisance)     03/25/19         Plaintiff         2000-18            1999-17
Michna, Edward                        05/10/19        Defendant          1939-25            1936-25
Murphy, Kevin                         06/21/19        Defendant          1939-26            1936-26
Nicholson, Sean                       05/10/19        Defendant          1939-27            1936-27
Peck, Carl                            05/10/19        Defendant          1939-28            1936-28


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                 Expert                    Date           Pltf/Def       Sealed Dkt No.      Public Dkt No.
                                                                            2000-19            1999-18
Perri, Matthew                           03/25/19         Plaintiff         2000-20            1999-19
                                                                            2000-21            1999-20
Rafalski, James                          04/15/19         Plaintiff         2000-22            1999-21
Rahilly-Tierney, Catherine               05/10/19        Defendant          1939-29            1936-29
Reise, Brian                             05/31/19        Defendant          1939-30            1936-30
Rosenblatt, Melanie                      05/10/19        Defendant          1939-31            1936-31
Rosenthal, Meredith                      03/25/19         Plaintiff         2000-23            1999-22
Schumacher, Mark                         03/25/19         Plaintiff         2000-24            1999-23
Tongring, Krista                         05/10/19        Defendant          1939-32            1936-32
Wexelblatt, Scott                        03/25/19         Plaintiff         2000-25            1999-24
Whitelaw, Seth                           04/15/19         Plaintiff         2000-26            1999-25
Young, Nancy                             03/25/19         Plaintiff         2000-27            1999-26




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